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                                           PALMER ADMINISTRATIVE SERVICES, INC.
                                      6
                                      7
                                      8                      UNITED STATES DISTRICT COURT
                                      9                     CENTRAL DISTRICT OF CALIFORNIA
                                      10
                                      11   MICHAEL DELONG,                        CASE NO. 2:21-cv-06165-AB-PD
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                                      12                          Plaintiff,      Hon. Andre Birotte Jr.
                                                                                  Hon. Patricia Donahue
      Los Angeles, CA 90071




                                      13       vs.
                                                                                  STIPULATED PROTECTIVE
                                      14   ALLIED VEHICLE PROTECTION;             ORDER AND ORDER GRANTING
                                           PALMER ADMINISTRATIVE                  STIPULATION
                                      15   SERVICES, INC., and PAYLINK
                                           DIRECT,
                                      16                                          Complaint Filed: July 30, 2021
                                                                  Defendants.
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                                      1          TO THE ABOVE-ENTITLED COURT, AND TO ALL PARTIES AND
                                      2    THEIR ATTORNEYS OF RECORD:
                                      3          Plaintiff Michael Delong (“Plaintiff”) and Defendant Palmer Administrative
                                      4    Services (“Defendant”) hereby stipulate as follows:
                                      5    1.    General Provisions
                                      6          1.1.    Purposes and Limitations. Discovery in this action is likely to involve
                                      7    production of confidential, proprietary, or private information for which special
                                      8    protection from public disclosure and from use for any purpose other than
                                      9    prosecuting this litigation may be warranted. Accordingly, the parties hereby
                                      10   stipulate to and petition the Court to enter the following Stipulated Protective
                                      11   Order (“SPO”). The parties acknowledge that this SPO does not confer blanket
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                                      12   protections on all disclosures or responses to discovery and that the protection it
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                                      13   affords from public disclosure and use extends only to the limited information or
                                      14   items that are entitled to confidential treatment under the applicable legal
                                      15   principles. The parties further acknowledge, as set forth in Section 12.3 below, that
                                      16   this SPO does not entitle them to file confidential information under seal. Instead,
                                      17   Civil Local Rule 79-5 sets forth the procedures that must be followed and the
                                      18   standards that will be applied when a party seeks permission from the court to file
                                      19   material under seal.
                                      20         1.2.    Good Cause Statement. This action, which may involve trade secrets,
                                      21   customer data and lists and other valuable research, development, commercial,
                                      22   financial, technical and/or proprietary information for which special protection
                                      23   from public disclosure and from use for any purpose other than prosecution of this
                                      24   action is warranted. Such confidential and proprietary materials and information
                                      25   consist of, among other things, confidential business or financial information,
                                      26   information regarding confidential business practices, or other confidential
                                      27   research, development, or commercial information (including information
                                      28   implicating privacy rights of third parties), information otherwise generally
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                                      1    unavailable to the public, or which may be privileged or otherwise protected from
                                      2    disclosure under state or federal statutes, court rules, case decisions, or common
                                      3    law.
                                      4           Accordingly, to expedite the flow of information, to facilitate the prompt
                                      5    resolution of disputes over confidentiality of discovery materials, to adequately
                                      6    protect information the parties are entitled to keep confidential, to ensure that the
                                      7    parties are permitted reasonable necessary uses of such material in preparation for
                                      8    and in the conduct of trial, to address their handling at the end of the litigation, and
                                      9    serve the ends of justice, a protective order for such information is justified in this
                                      10   matter.
                                      11          It is the intent of the parties that information will not be designated as
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                                      12   “Confidential” or “Highly Confidential - Attorneys Eyes Only” for tactical reasons
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                                      13   and that nothing be so designated without a good faith belief that it has been
                                      14   maintained in a confidential, non-public manner, and there is good cause why it
                                      15   should not be part of the public record of this case.
                                      16   2.     Definitions
                                      17          2.1    Action: The present lawsuit pending in federal court.
                                      18          2.2    Challenging Party: A Party or Non-Party that challenges the
                                      19   designation of information or items under this Order.
                                      20          2.3    “Confidential” Information or Items: Information (regardless of how it
                                      21   is generated, stored or maintained) or tangible things that qualify for protection
                                      22   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
                                      23   Cause Statement.
                                      24          2.4    Counsel (without qualifier): Outside Counsel of Record and In-House
                                      25   Counsel (as well as their support staff).
                                      26          2.5    Designating Party: A Party or Non-Party that designates information
                                      27   or items that it produces in disclosures or in responses to discovery as
                                      28   “Confidential” or “Highly Confidential - Attorneys Eyes Only.”
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                                      1          2.6    Disclosure or Discovery Material: All items or information, regardless
                                      2    of the medium or manner in which it is generated, stored, or maintained (including,
                                      3    among other things, testimony, transcripts, and tangible things), that are produced
                                      4    or generated in disclosures or responses to discovery in this matter.
                                      5          2.7    Expert: A person with specialized knowledge or experience in a
                                      6    matter pertinent to the litigation who has been retained by a Party or its counsel to
                                      7    serve as an expert witness or as a consultant in this Action. Any employee of a
                                      8    Receiving Party who is designated as an Expert shall be bound by Section 7,
                                      9    below, and shall not be given access to “Highly Confidential - Attorneys Eyes
                                      10   Only” Information or Items from a Producing Party unless the Producing Party
                                      11   gives express authorization.
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                                      12         2.8    “Highly Confidential - Attorneys Eyes Only” Information or Items:
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                                      13   Extremely sensitive “Confidential Information or Items,” disclosure of which to
                                      14   another Party or Non-Party would create a substantial risk of serious harm that
                                      15   could not be avoided by less restrictive means.
                                      16         2.9    In-House Counsel: Attorneys who are employees of a party to this
                                      17   Action. In-House Counsel does not include Outside Counsel of Record or any
                                      18   other outside counsel.
                                      19         2.10 Non-Party: Any natural person, partnership, corporation, association,
                                      20   or other legal entity not named as a Party to this action.
                                      21         2.11 Outside Counsel of Record: Attorneys who are not employees of a
                                      22   party to this Action but are retained to represent or advise a party to this Action
                                      23   and have appeared in this Action on behalf of that party or are affiliated with a law
                                      24   firm which has appeared on behalf of that party, and includes support staff.
                                      25         2.12 Party: Any party to this Action, including all of its officers, directors,
                                      26   employees, consultants, retained experts, and Outside Counsel of Record (and their
                                      27   support staffs).
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                                      1          2.13 Producing Party: A Party or Non-Party that produces Disclosure or
                                      2    Discovery Material in this Action.
                                      3          2.14 Professional Vendors: Persons or entities that provide litigation
                                      4    support services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                      5    demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                      6    and their employees and subcontractors.
                                      7          2.15 Protected Material: Any Disclosure or Discovery Material that is
                                      8    designated as “Confidential” or “Highly Confidential - Attorneys Eyes Only.”
                                      9          2.16 Receiving Party: A Party that receives Disclosure or Discovery
                                      10   Material from a Producing Party.
                                      11   3.    Scope
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                                      12         3.1.    The protections conferred by this SPO cover not only Protected
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                                      13   Material (as defined above), but also (1) any information copied or extracted from
                                      14   Protected Material; (2) all copies, excerpts, summaries, or compilations of
                                      15   Protected Material; and (3) any testimony, conversations, or presentations by
                                      16   Parties or their Counsel that might reveal Protected Material.
                                      17         3.2.    However, the protections conferred by this SPO do not cover the
                                      18   following information: (a) any information that is in the public domain at the time
                                      19   of disclosure to a Receiving Party or becomes part of the public domain after its
                                      20   disclosure to a Receiving Party as a result of publication not involving a violation
                                      21   of this Order, including becoming part of the public record through trial or
                                      22   otherwise; and (b) any information known to the Receiving Party prior to the
                                      23   disclosure or obtained by the Receiving Party after the disclosure from a source
                                      24   who obtained the information lawfully and under no obligation of confidentiality to
                                      25   the Designating Party.
                                      26         3.3.    Any use of Protected Material at trial shall be governed by the orders
                                      27   of the trial judge. This Order does not govern the use of Protected Material at trial.
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                                      1    4.    Duration
                                      2          Even after final disposition of this litigation, the confidentiality obligations
                                      3    imposed by this SPO shall remain in effect until a Designating Party agrees
                                      4    otherwise in writing or a court order otherwise directs. Final disposition shall be
                                      5    deemed to be the later of (1) dismissal of all claims and defenses in this Action,
                                      6    with or without prejudice; and (2) final judgment herein after the completion and
                                      7    exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                                      8    including the time limits for filing any motions or applications for extension of
                                      9    time pursuant to applicable law.
                                      10   5.    Designating Protected Material
                                      11         5.1    Exercise of Restraint and Care in Designating Material for Protection.
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                                      12   Each Party or Non-Party that designates information or items for protection under
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                                      13   this Order must take care to limit any such designation to specific material that
                                      14   qualifies under the appropriate standards. To the extent that it is practical to do so,
                                      15   the Designating Party must designate for protection only those parts of material,
                                      16   documents, items, or oral or written communications that qualify so that other
                                      17   portions of the material, documents, items, or communications for which
                                      18   protection is not warranted are not swept unjustifiably within the ambit of this
                                      19   Order.
                                      20         Mass, indiscriminate, or routinized designations are discouraged.
                                      21   Designations that are shown to be clearly unjustified or that have been made for an
                                      22   improper purpose (e.g., to unnecessarily encumber the case development process
                                      23   or to impose unnecessary expenses and burdens on other parties) may expose the
                                      24   Designating Party to sanctions.
                                      25         If it comes to a Designating Party’s attention that information or items that it
                                      26   designated for protection do not qualify for protection at all or do not qualify for
                                      27   the level of protection initially asserted, that Designating Party must promptly
                                      28   notify all other Parties that it is withdrawing the inapplicable designation. In the
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                                      1    event that the Designating Party withdraws designations of produced documents, it
                                      2    will issue a replacement production with the designations omitted unless otherwise
                                      3    agreed by the parties.
                                      4          5.2    Manner and Timing of Designations. Except as otherwise provided in
                                      5    this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                      6    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                                      7    under this Order must be clearly so designated before the material is disclosed or
                                      8    produced. Designation in conformity with this Order requires:
                                      9                 (a)    For information in documentary form (e.g., paper or electronic
                                      10   documents, but excluding transcripts of depositions or other pretrial or trial
                                      11   proceedings), that the Producing Party affix at a minimum, the legend
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                                      12   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS EYES
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                                      13   ONLY,” to each page that contains protected material. If only a portion or portions
                                      14   of the material on a page qualifies for protection, the Producing Party also must
                                      15   clearly identify the protected portion(s) (e.g., by making appropriate markings in
                                      16   the margins) and must specify, for each portion, the level of protection being
                                      17   asserted.
                                      18         A Party or Non-Party that makes original documents or materials available
                                      19   for inspection need not designate them for protection until after the inspecting
                                      20   Party has indicated which documents or material it would like copied and
                                      21   produced. During the inspection and before the designation, all of the material
                                      22   made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –
                                      23   ATTORNEYS EYES ONLY.” After the inspecting Party has identified the
                                      24   documents it wants copied and produced, the Producing Party must determine
                                      25   which documents, or portions thereof, qualify for protection under this Order.
                                      26   Then, before producing the specified documents, the Producing Party must affix
                                      27   the appropriate legend (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                                      28   ATTORNEYS EYES ONLY”) to each page that contains Protected Material. If
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                                      1    only a portion or portions of the material on a page qualifies for protection, the
                                      2    Producing Party also must clearly identify the protected portion(s) (e.g., by making
                                      3    appropriate markings in the margins) and must specify, for each portion, the level
                                      4    of protection being asserted.
                                      5                 (b)    For Testimony Given in Depositions or In Other Pretrial or
                                      6    Trial Proceedings, that the Designating Party identify on the record, before the
                                      7    close of the deposition, hearing, or other proceeding, all protected testimony and
                                      8    specify the level of protection being asserted. When it is impractical to identify
                                      9    separately each portion of testimony that is entitled to protection and it appears that
                                      10   substantial portions of the testimony may qualify for protection, the Designating
                                      11   Party may invoke on the record (before the deposition, hearing, or other
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                                      12   proceeding is concluded) a right to have up to 21 days to identify the specific
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                                      13   portions of the testimony as to which protection is sought and to specify the level
                                      14   of protection being asserted. Only those portions of the testimony that are
                                      15   appropriately designated for protection within the 21 days (or as otherwise agreed
                                      16   by the parties) shall be covered by the provisions of this Stipulated Protective
                                      17   Order. Alternatively, a Designating Party may specify, at the deposition or up to 21
                                      18   days afterwards if that period is properly invoked, that the entire transcript shall be
                                      19   treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                                      20   EYES ONLY.”
                                      21                Parties shall give the other parties notice if they reasonably expect a
                                      22   deposition, hearing or other proceeding to include Protected Material so that the
                                      23   other parties can ensure that only authorized individuals who have signed the
                                      24   “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present at those
                                      25   proceedings. The use of a document as an exhibit at a deposition shall not in any
                                      26   way affect its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL
                                      27   – ATTORNEYS’ EYES ONLY.”
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                                      1                 Transcripts containing Protected Material shall have an obvious
                                      2    legend on the title page that the transcript contains Protected Material, and the title
                                      3    page shall be followed by a list of all pages (including line numbers as appropriate)
                                      4    that have been designated as Protected Material and the level of protection being
                                      5    asserted by the Designating Party. The Designating Party shall inform the court
                                      6    reporter of these requirements. Any transcript that is prepared before the expiration
                                      7    of a 21-day period for designation shall be treated during that period as if it had
                                      8    been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in
                                      9    its entirety unless otherwise agreed. After the expiration of that period, the
                                      10   transcript shall be treated only as actually designated.
                                      11                (c)    For Information Produced in Some Form Other Than
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                                      12   Documentary, and For Any Other Tangible Items, that the Producing Party affix in
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                                      13   a prominent place on the exterior of the container or containers in which the
                                      14   information is stored the legend “CONFIDENTIAL” or “HIGHLY
                                      15   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” If only a portion or portions
                                      16   of the information warrants protection, the Producing Party, to the extent
                                      17   practicable, shall identify the protected portion(s).
                                      18         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                      19   failure to designate qualified information or items does not, standing alone, waive
                                      20   the Designating Party’s right to secure protection under this Order for such
                                      21   material. Upon timely correction of a designation, the Receiving Party must make
                                      22   reasonable efforts to assure that the material is treated in accordance with the
                                      23   provisions of this Order.
                                      24   6.    Challenging Confidentiality Designations
                                      25         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
                                      26   designation of confidentiality at any time that is consistent with the Court’s
                                      27   Scheduling Order. A Party does not waive its right to challenge a confidentiality
                                      28   designation by electing not to mount a challenge promptly after the original
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                                      1    designation is disclosed, unless a prompt challenge to a Designating Party’s
                                      2    confidentiality designation is necessary to avoid foreseeable, substantial
                                      3    unfairness, unnecessary economic burdens, or a significant disruption or delay of
                                      4    the Court’s litigation.
                                      5          6.2    Meet and Confer. The Challenging Party shall initiate the dispute
                                      6    resolution process under Local Rule 37.1 et seq.
                                      7          6.3    Burden of Persuasion. The burden of persuasion in any such
                                      8    challenge proceeding shall be on the Designating Party. Frivolous challenges, and
                                      9    those made for an improper purpose (e.g., to harass or impose unnecessary
                                      10   expenses and burdens on other parties) may expose the Challenging Party to
                                      11   sanctions. Unless the Designating Party has waived or withdrawn the
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                                      12   confidentiality designation all parties shall continue to afford the material in
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                                      13   question the level of protection to which it is entitled under the Producing Party’s
                                      14   designation until the Court rules on the challenge.
                                      15   7.    Access to and Use of Protected Material
                                      16         7.1    Basic Principles. A Receiving Party may use Protected Material that is
                                      17   disclosed or produced by another Party or by a Non-Party in connection with this
                                      18   Action only for prosecuting, defending, or attempting to settle this Action. Such
                                      19   Protected Material may be disclosed only to the categories of persons and under
                                      20   the conditions described in this Order. When the Action has been terminated, a
                                      21   Receiving Party must comply with the provisions of Section 13 (“Final
                                      22   Disposition”) below. Protected Material must be stored and maintained by a
                                      23   Receiving Party at a location and in a secure manner that ensures that access is
                                      24   limited to the persons authorized under this Order.
                                      25         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                      26   otherwise ordered by the court or permitted in writing by the Designating Party, a
                                      27   Receiving Party may disclose any information or item designated
                                      28   “CONFIDENTIAL” only to:
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                                      1                  (a)   the Receiving Party’s Outside Counsel of Record in this Action,
                                      2    as well as employees of said Outside Counsel of Record to whom it is reasonably
                                      3    necessary to disclose the information for this Action;
                                      4                  (b)   the Receiving Party, or if the Receiving Party is not an
                                      5    individual, the officers, directors, employees, or affiliates of the Receiving Party to
                                      6    whom disclosure is reasonably necessary for this Action;
                                      7                  (c)   Experts (as defined in this Order) of the Receiving Party to
                                      8    whom disclosure is reasonably necessary for this Action and who have signed the
                                      9    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                      10                 (d)   the court and its personnel;
                                      11                 (e)   court reporters and their staff;
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                                      12                 (f)   professional jury or trial consultants, mock jurors, and
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                                      13   Professional Vendors to whom disclosure is reasonably necessary for this Action
                                      14   and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
                                      15   A);
                                      16                 (g)   the author, addressee, or carbon copy recipient of a document
                                      17   containing the information or a custodian or other person who otherwise possessed
                                      18   or knew the information. In addition, regardless of its designation, if the document
                                      19   makes reference to the actual or alleged conduct or statement of a person, Outside
                                      20   Counsel may discuss such conduct or statements with such person, provided that
                                      21   such discussions do not disclose or reveal any other Protected Material beyond the
                                      22   actual or alleged conduct or statement of that person;
                                      23                 (h)   any mediator or settlement officer, and their supporting
                                      24   personnel.
                                      25         7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                      26   ONLY” Information or Items. Unless otherwise ordered by the court or permitted
                                      27   in writing by the Designating Party, a Receiving Party may disclose any
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                                      1    information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
                                      2    EYES ONLY” only to:
                                      3                  (a)   the Receiving Party’s Outside Counsel of Record in this action,
                                      4    as well as employees of said Outside Counsel of Record to whom it is reasonably
                                      5    necessary to disclose the information for this litigation;
                                      6                  (b)   In-House Counsel of the Receiving Party to whom disclosure is
                                      7    reasonably necessary for this Action and who have signed the “Acknowledgment
                                      8    and Agreement to Be Bound” (Exhibit A);
                                      9                  (c)   Experts (as defined in this Order) of the Receiving Party to
                                      10   whom disclosure is reasonably necessary for this Action and who have signed the
                                      11   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
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                                      12                 (d)   the court and its personnel;
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                                      13                 (e)   court reporters and their staff;
                                      14                 (f)   professional jury or trial consultants, and Professional Vendors
                                      15   to whom disclosure is reasonably necessary for this litigation and who have signed
                                      16   the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
                                      17                 (g)   the author, addressee, or carbon copy recipient of a document
                                      18   containing the information or a custodian or other person who otherwise possessed
                                      19   or knew the information. In addition, regardless of its designation, if the document
                                      20   makes reference to the actual or alleged conduct or statement of a person, Outside
                                      21   Counsel may discuss such conduct or statements with such person, provided that
                                      22   such discussions do not disclose or reveal any other Protected Material beyond the
                                      23   actual or alleged conduct or statement of that person;
                                      24                 (h)   any mediator or settlement officer, and their supporting
                                      25   personnel.
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                                      1    8.    Protected Material Subpoenaed or Ordered Produced in Other
                                      2          Litigation
                                      3          8.1.    If a Party is served with a subpoena or a court order issued in other
                                      4    litigation that compels disclosure of any information or items designated in this
                                      5    Action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                                      6    EYES ONLY,” that Party must:
                                      7                  (a)   promptly notify in writing the Designating Party. Such
                                      8    notification shall include a copy of the subpoena or court order;
                                      9                  (b)   promptly notify in writing the party who caused the subpoena
                                      10   or order to issue in the other litigation that some or all of the material covered by
                                      11   the subpoena or order is subject to this Protective Order. Such notification shall
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                                      12   include a copy of this Stipulated Protective Order; and
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                                      13                 (c)   cooperate with respect to all reasonable procedures sought to be
                                      14   pursued by the Designating Party whose Protected Material may be affected.
                                      15         8.2.    If the Designating Party timely seeks a protective order, the Party
                                      16   served with the subpoena or court order shall not produce any information
                                      17   designated in this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                                      18   ATTORNEYS EYES ONLY” before a determination by the court from which the
                                      19   subpoena or order issued, unless the Party has obtained the Designating Party’s
                                      20   permission. The Designating Party shall bear the burden and expense of seeking
                                      21   protection in that court of its confidential or highly confidential material and
                                      22   nothing in these provisions should be construed as authorizing or encouraging a
                                      23   Receiving Party in this Action to disobey a lawful directive from another court.
                                      24   9.    A Non-Party’s Protected Material Sought to Be Produced in This
                                      25         Litigation
                                      26         9.1.    The terms of this Order are applicable to information produced by a
                                      27   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
                                      28   CONFIDENTIAL – ATTORNEYS EYES ONLY.” Such information produced by
                                                                      -13-
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                                      1    Non-Parties in connection with this litigation is protected by the remedies and
                                      2    relief provided by this Order. Nothing in these provisions should be construed as
                                      3    prohibiting a Non-Party from seeking additional protections.
                                      4          9.2.     In the event that a Party is required, by a valid discovery request, to
                                      5    produce a Non-Party’s confidential or highly confidential information in its
                                      6    possession, and the Party is subject to an agreement with the Non-Party not to
                                      7    produce the Non-Party’s confidential or highly confidential information, then the
                                      8    Party shall:
                                      9                   (a)   promptly notify in writing the Requesting Party and the Non-
                                      10   Party that some or all of the information requested is subject to a confidentiality
                                      11   agreement with a Non-Party;
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                                      12                  (b)   promptly provide the Non-Party with a copy of the Stipulated
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                                      13   Protective Order in this Action, the relevant discovery request(s), and a reasonably
                                      14   specific description of the information requested; and
                                      15                  (c)   make the information requested available for inspection by the
                                      16   Non-Party, if requested.
                                      17         9.3.     If the Non-Party fails to object or seek a protective order from this
                                      18   court within 14 days of receiving the notice and accompanying information, the
                                      19   Receiving Party may produce the Non-Party’s confidential or highly confidential
                                      20   information responsive to the discovery request. If the Non-Party timely seeks a
                                      21   protective order, the Receiving Party shall not produce any information in its
                                      22   possession or control that is subject to the confidentiality agreement with the Non-
                                      23   Party before a determination by the court. Absent a court order to the contrary, the
                                      24   Non-Party shall bear the burden and expense of seeking protection in this court of
                                      25   its Protected Material.
                                      26   10.   Unauthorized Disclosure of Protected Material
                                      27         If a Receiving Party learns that, by inadvertence or otherwise, it has
                                      28   disclosed Protected Material to any person or in any circumstance not authorized
                                                                                   -14-
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                                      1    under this Stipulated Protective Order, the Receiving Party must immediately (a)
                                      2    notify in writing the Designating Party of the unauthorized disclosures, (b) use its
                                      3    best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
                                      4    the person or persons to whom unauthorized disclosures were made of all the terms
                                      5    of this Order, and (d) request such person or persons to execute the
                                      6    “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
                                      7    A.
                                      8    11.   Inadvertent Production of Privileged or Otherwise Protected Material
                                      9          When a Producing Party gives notice to Receiving Parties that certain
                                      10   inadvertently produced material is subject to a claim of privilege or other
                                      11   protection, the obligations of the Receiving Parties are those set forth in Federal
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                                      12   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
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                                      13   whatever procedure may be established in an e-discovery order that provides for
                                      14   production without prior privilege review. Pursuant to Federal Rule of Evidence
                                      15   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
                                      16   of a communication or information covered by the attorney-client privilege or
                                      17   work product protection, the parties may incorporate their agreement in the
                                      18   stipulated protective order submitted to the court.
                                      19   12.   Miscellaneous
                                      20         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                      21   person to seek its modification by the Court in the future.
                                      22         12.2 Right to Assert Other Objections. By stipulating to the entry of this
                                      23   Protective Order no Party waives any right it otherwise would have to object to
                                      24   disclosing or producing any information or item on any ground not addressed in
                                      25   this Stipulated Protective Order. Similarly, no Party waives any right to object on
                                      26   any ground to use in evidence of any of the material covered by this SPO.
                                      27         12.3 Filing Protected Material. Without written permission from the
                                      28   Designating Party or a court order secured after appropriate notice to all interested
                                                                                   -15-
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                                      1    persons, a Party may not file in the public record in this action any Protected
                                      2    Material. A Party that seeks to file under seal any Protected Material must comply
                                      3    with Civil Local Rule 79-5. Protected Material may only be filed under seal
                                      4    pursuant to a court order authorizing the sealing of the specific Protected Material
                                      5    at issue. If a Party's request to file Protected Material under seal is denied by the
                                      6    court, then the Receiving Party may file the information in the public record unless
                                      7    otherwise instructed by the court.
                                      8    13.   Final Disposition
                                      9          13.1. After the final disposition of this Action, as defined in paragraph 4,
                                      10   within 60 days of a written request by the Designating Party, each Receiving Party
                                      11   must return all Protected Material to the Producing Party or destroy such material.
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                                      12   As used in this subdivision, “all Protected Material” includes all copies, abstracts,
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                                      13   compilations, summaries, and any other format reproducing or capturing any of the
                                      14   Protected Material.
                                      15         13.2. Whether the Protected Material is returned or destroyed, the
                                      16   Receiving Party must submit a written certification to the Producing Party (and, if
                                      17   not the same person or entity, to the Designating Party) by the 60 day deadline that
                                      18   (1) identifies (by category, where appropriate) all the Protected Material that was
                                      19   returned or destroyed and (2) affirms that the Receiving Party has not retained any
                                      20   copies, abstracts, compilations, summaries or any other format reproducing or
                                      21   capturing any of the Protected Material.
                                      22         13.3. Notwithstanding this provision, Counsel are entitled to retain an
                                      23   archival copy of all pleadings, motion papers, trial, deposition, and hearing
                                      24   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
                                      25   reports, attorney work product, and consultant and expert work product, even if
                                      26   such materials contain Protected Material. Any such archival copies that contain or
                                      27   constitute Protected Material remain subject to this Protective Order as set forth in
                                      28   Section 4 (“Duration”).
                                                                                     -16-
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                                      1          Any violation of this Order may be punished by any and all appropriate
                                      2    measures including, without limitation, contempt proceedings and/or monetary
                                      3    sanctions.
                                      4          IT IS SO STIPULATED.
                                      5
                                      6     Dated: April 15, 2022                  GORDON REES SCULLY MANSUKHANI, LLP
                                      7
                                      8                                            By:        s/Sean P. Flynn
                                                                                           Sean P. Flynn
                                      9                                                    Attorneys for Defendant
                                      10                                                   Palmer Administrative Services, Inc.

                                      11
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                                      12    Dated: April 15, 2022                    KIMMEL & SILVERMAN, P.C.
      Los Angeles, CA 90071




                                      13
                                      14                                             By: /s/ Joseph D. Steward, III
                                                                                         Joseph D. Steward, III
                                      15                                                 Attorneys for Plaintiff
                                      16                                                 Michael Delong
                                      17
                                      18                   CERTIFICATE OF SIGNATURE AUTHORITY
                                      19         Pursuant to L.R. 5-4.3.4, I hereby attest that all signatories listed, and on
                                      20   whose behalf this filing was submitted, concur in the filing’s content and have
                                      21   authorized the filing.
                                      22                                    By:    /s/
                                      23
                                           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                      24
                                           DATED: April 15, 2022
                                      25
                                      26
                                      27   Patricia Donahue
                                           United States Magistrate Judge
                                      28
                                                                                    -17-
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                                      1                                      EXHIBIT A
                                      2        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                      3            I,                         [full name], of
                                      4    [address], declare under penalty of perjury that I have read in its entirety and
                                      5    understand the Stipulated Protective Order that was issued by the United States
                                      6    District Court for the Central District of California on             [date] in the case
                                      7    of Delong v. Allied Vehicle Protection, et al., Case No. 2:21-cv-06165-AB-PD
                                      8    (C.D. Cal.). I agree to comply with and to be bound by all the terms of this
                                      9    Stipulated Protective Order and I understand and acknowledge that failure to so
                                      10   comply could expose me to sanctions and punishment in the nature of contempt. I
                                      11   solemnly promise that I will not disclose in any manner any information or item
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                                      12   that is subject to this Stipulated Protective Order to any person or entity except in
      Los Angeles, CA 90071




                                      13   strict compliance with the provisions of this Order.
                                      14           I further agree to submit to the jurisdiction of the United States District
                                      15   Court for the Central District of California for the purpose of enforcing the terms
                                      16   of this Stipulated Protective Order, even if such enforcement proceedings occur
                                      17   after termination of this action. I hereby appoint                          [name] of
                                      18                                [address and telephone] as my California agent for
                                      19   service of process in connection with this action or any proceedings related to
                                      20   enforcement of this Stipulated Protective Order.
                                      21
                                      22   Date:
                                      23
                                      24   Cite and State:
                                      25
                                      26   Printed Name:
                                      27
                                      28   Signature:
                                                                                      -18-
                                                        STIPULATED PROTECTIVE ORDER AND ORDER GRANTING STIPULATION
